                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:91CR86-2

UNITED STATES OF AMERICA                  )
                                          )
                                          )
      v.                                  )                                ORDER
                                          )
CLYNTON JOHN CHASE                        )
__________________________________________)


       THIS MATTER is before the Court upon Defendant’s Sentencing Memorandum

(Document #15). Pursuant to Rule 32, the Court hereby gives notice that Defendant’s

Memorandum may furnish a basis for a variance outside the Sentencing Guidelines. See United

States v. Blatstein, No. 06-4210 (4th Cir. 2007). The Government is directed to respond to the

Defendant’s Memorandum before or by May 15, 2007.



       IT IS SO ORDERED.



                                                Signed: April 25, 2007




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